     Case 2:13-cr-06070-SAB       ECF No. 35-1       filed 01/09/14   PageID.78   Page 1 of
                                                 1



 1   Rick L. Hoffman
     FEDERAL DEFENDERS OF EASTERN WASHINGTON AND IDAHO
 2   306 East Chestnut Avenue
     Yakima, Washington 98901
 3   (509) 248-8920

 4   Attorneys for Defendant

 5
                                 UNITED STATES DISTRICT COURT
 6                              EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                       )
                                                     )      CR-13-6070-WFN
 8            Plaintiff,                             )
                                                     )
 9     vs.                                           )      ORDER GRANTING MOTION
                                                     )      FOR EXPEDITED HEARING
10   KENNY ROWELL,                                   )
                                                     )
11            Defendant.                             )      (PROPOSED)
                                                     )
12
             BEFORE THE COURT is Defendant’s Motion for Expedited Hearing (Ct. Rec. __).
13
     For the reasons set forth in the Defendant’s motion and memorandum, IT IS HEREBY
14

15   ORDERED that Defendant’s for Expedited Hearing (Ct. Rec. __) is GRANTED.

16           IT IS SO ORDERED. The district court executive is directed to enter this order and
17
     provide copies to counsel and the United States Probation Office.
18
     DATED this ___ day of _____________ 2013.
19

20                                          __________________________________
21                                            WM. FREMMING NIELSEN
                                              UNITED STATES DISTRICT JUDGE
22

23

24

25   ORDER                                           1
